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UNITED sTATEs DISTRICT coURT
soUTHERN DISTRICT oF FLoRIDA 2907 JUL -3 AH H= |6

MIAMI DIvISION _~
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S.D, oF ?L.->~m.ei,
TEAM ENTERPRISES, INC., CASE NO_

a Massachusetts Corporation, and
RETAILTRAC, L.L.C., 0 7 _ 2 1 6 9 7
A Delaware Corporation,

Plaintiffs, C'VUNGARO

VS_ 'MAGISTRATE JUDGE
O’SULLlVAN

KEN WAHLER, individually, and

SALESTRAC, INC., a Maryland

Corporation,

Defendants.

DEFENDANTS' NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§1446, l44l, 1332 and 1367, Defendants Ken Wahler ("Wahler")
and SalesTrac, Inc. (“SalesTrac”; Wahler and SalesTrac Will be collectively referred to herein as
“Defendants”), give notice of their removal of this action from the Circuit Court of the llth
Judicial Circuit in and for Miami-Dade County, Florida (the "State Court") to the United States
District Court for the Southern District of Florida, and state:

l. On June 9, 2006, Plaintiffs Team Enterprises, Inc. and RetailTrac, L.L.C
apparently filed a complaint against Defendants in the State Court. For reasons unknown,
Plaintiffs did not serve the complaint upon Defendants.

2. On June 26, 2007, Plaintiffs filed an amended complaint (the “Amended
Complaint”) against Defendants containing the following five counts, all allegedly emanating

from an oral contract between the parties:

HERRoN ]AcoBs ORTIZ
1401 BrickellAvenue Suite 840 Miami Florida 33131 (305) 779-8103

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a. Count l purports to state a claim against Wahler for alleged fraud in the
inducement

b. Count II purports to state a claim against Wahler for breach of the alleged oral
agreement

c. Count lII purports to state a claim against SalesTrac for alleged conversion

d. Count IV purports to state a claim against Defendants seeking declaratory and
injunctive relief.

e. Count V purports to state a claim against the Defendants for replevin of computer
software source code and other data.l

3. On June 29, 2007, Defendants were purportedly served with process in this case
for the first time, including the Amended Complaint, a summons and a motion seeking entry of
an order to show cause why a writ of replevin should not be entered forthwith. A copy of each
of such filings is attached hereto as composite Exhibit A.

4. Pursuant to 28 U.S.C. § l332(a)(l), federal district courts have original
jurisdiction over all civil actions between citizens of different states where the amount in
controversy exceeds $75,()00, exclusive of interest and costs.

5. As alleged in paragraph 2 of the Amended Complaint, PlaintiffTeam Enterprises,

Inc. is a Massachusetts corporation with offices in Miami-Dade and Broward counties.2 As

 

l Curiously, Plaintiffs impermissibly seek a Florida writ of replevin concerning property Plaintiffs freely
admit is located in the State of Maryland. See Amended Complaint, 11 57(g); lnversz`ones S.O.S v. First Union
National Bank of Florida, 7()2 So.2d 285, 285 (Fla. 4th DCA 1997) (Florida court had no jurisdiction to issue writ of
replevin as to property not located in Florida).

2The caption of Plaintiffs’ papers erroneously indicate that Team Enterprises is a Florida corporation,
contradicting the allegation in the Amended Complaint that it is a Massachusetts corporation. In conformity with
the Amended Complaint, Hlings with the Florida Secretary of State show a Massachusetts corporation named Team
Enterprises, Inc. as registered to do business in Florida. See Exhibit B attached hereto.

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alleged in paragraph 3 of the Amended Complaint, Plaintiff RetailTrac, L.L.C. is a Delaware
limited liability company with offices in Miami-Dade and Broward counties.3

6. Defendant Wahler is a citizen of Maryland. See Declaration of Ken Wahler
attached hereto as Exhibit C. Defendant SalesTrac is a Maryland corporation with its principal
office in Baltimore County, Maryland. See id; Amended Complaint at 11 5.

7. According to the Amended Complaint, Plaintiff seeks or may seek recovery "in
excess of $75,000" in connection with Counts I, ll and III. Amended Complaint, 1111 18, 28, and
39.

8. According to the Amended Complaint, the value of the property allegedly subject
of replevin in Count V “is at least $l,OO0,000.00.” Amended Complaint, jj 57(f).

9. Thus, it is facially apparent from the Amended Complaint that the amount in
controversy in Counts [, II, III and V exceeds $75,000.

10. Pursuant to 28 U.S.C. §l332(a)(l), this Court has original jurisdiction over
Counts I, II, III and V because these counts involve citizens of different states (plaintiffs
incorporated in Massachusetts and Delaware with offices in Florida; defendants incorporated in
Maryland with offices in Maryland, and a citizen of Maryland), and the amount in controversy
exceeds $75,000, exclusive of interest and costs.

ll. Section l44l(a) of Title 28 of the U.S. Code authorizes the removal of civil
actions from state court to federal court, provided that the federal district court to which the

action is removed has original jurisdiction over the action. Because this Court has original

 

3 The caption of Plaintiffs’ papers also erroneously indicate that RetailTrac, L.L.C. is a Delaware
“corporation,” contradicting the allegation in the amended complaint that it is a limited liability company.

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jurisdiction over Counts I, II, III and V, removal of these claims is appropriate under 28 U.S.C.
§1441(a).

12. Count III seeks a declaratory judgment and equitable relief related to the matters
in the other counts of the Amended Complaint, but the amount in controversy in Count IV is not
specifically pleaded. Given the substance of the other counts in the complaint and the close
relationship of all counts, it would appear that the amount in controversy in Count IV is greater
than $75,000 and that it is similarly subject of removal. Even assuming arguendo that it is not,
28 U.S.C. §1367(a) provides that "in any civil action of which the district courts have original
jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that are
so related to claims in the action within such original jurisdiction that they form part of the same
case or controversy under Article III of the United States Constitution." Count IV is so related
to Counts I, II, III and V that it forms part of the same case or controversy. Additionally, Count
IV does not raise novel or complex issues of state law, does not substantially predominate over
the other counts, and there are no exceptional circumstances or compelling reasons for declining
to exercise supplemental jurisdiction over Count IV. See 28 U.S.C. § 1367(c). Accordingly, the
exercise of supplemental jurisdiction over Count IV is appropriate

13. Defendants’ removal is procedurally timely under 28 U.S.C. § 1446(b), because it
is filed within 30 days after the initial (purportedly sufficient) service of process in this case upon
Defendants under Florida Law. See Murphy Brothers, Inc. v. Michem` Pipe Stringing, Inc., 526
U.S. 344, 119 S. Ct 1322 (1999); Goodyear Tire & Rubber Co. v Fuji Photo Film Co., Ltd., 645

F.Supp 37 (S.D. Fla. 1986).

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14. A copy of this Notice of Removal has been served upon Plaintiff and has been
filed with the clerk of the Circuit Court of the llth Judicial Circuit in and for Miami-Dade

County, Florida.

HEBRoN l ]AcoBs l 03le
Attorneys for Plaintiff

1401 Brickell Avenue, Suite 840
Miami, FL 33131

Phone: 305-779-8103

Fax: 305-373-2735

E-mail: aherron@hjo-law.com

Byr /,iri/\/`!""b nw

rew R. Herro
rida Bar No.: 861560

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Certificate of Service
WE HEREBY CERTIFY that a true and correct copy of the foregoing has been served by
fax [305-221-5321], e-mail [ralayon@alayonlaw.com] and first class U.S. Mail, postage prepaid,
this 1 day of July, 2006, upon Richard A. Alayon, Esq., Brooks & Alayon, L.L.P, 4551 Ponce

de Leon Boulevard, Coral Gables, Florida 33146.

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IN THE C[RCU!T COURT OF THE
llTH JUDIClAL CIRCUIT IN AND
FOR MIAMI-DADE COUNTY,
FLORIDA

Team Enterprises, Inc., a Florida

Corporation, and RetailTrac, L.L.C., GENERAL JURISDICTION DIVISION

a Delaware Limited Llabl|lty Company

CASE NO.: 06-11198 CA 32

 

Plaintiff, (JURY TRIAL REQUESTED}
v.
Ken Wahler, [ndividua||y, and BEQ%G,_
SalesTrac, Inc., a Maryland Plz"..’i'._';c‘;‘__fi!.
Corporatlon, f/k/a A|lureware, Inc. and _,.,___, "'
a/k/a Allureware, Inc. DBA Salestrac, Inc. ‘~` -"=' _:_`_-§-_~ _',~».»_`
c ~’?v'..~ " `
Defendants. ,zRCUL”c';-)"ZQFE'¢- _.\
'~"\’1".\ E--:F
/ `”L"EC; ..
AMENDED COMPLAINT

Nature ofPlainti{t’s Claims
]. The nature of each of Plaintift`s’ claims is as follows:
A. Count l - Suit for damages in excess of $75,000 against defendant

Ken Wahler for fraud in the inducement

B. Count ll - Suit for damages in excess of 875,000 against defendant
Ken Wahler for breach of oral agreement

C. Count lIl - Suit for damages in excess of $75,000 against
Defendant SalesTrac for conversion

D. Count IV - Suit for declaratory judgment and for supplemental
relief under Fla. Stat. Chapter 86. including, without lirnitation, an injunction with respect
to intellectual property (e.g.. computer software and source code and related business and

trade secrets) and confidential and trade secret information of Plaintiff and of third parties

EXH|B|T

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Tcam Entcrprises, lnc. and Rclail'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

entrusted to Plaintiff .

E. Count V _ Suit for chlevin, seeking the return of computer
software program and source code and o:her proprietary, confidential, or trade secret
information of the PlaintiH's, or entrusted to one or more of the Plaintiff`s, in the
possession and control of the Defendants.

Identity of the Parties

2. PlaintiE Tearn Enterprises, Inc. is a mass corporation with of£ces in
Broward and Miami-Dade Counties (hereinaiier referred to as l=Plaintifl` Team”). During
all pertinent times, Plaintiff Team has been engaged'in providing services and related
software l`or use by the sch drink, beer, wine and spirits industries and in developing new
and potential businesses These activities are primarily conducted in the State of Florida
and throughout the United States.

3. Plaintiff RetailTrac, L.L.C.. is a Delaware Lirnited Liability Company
with offices in Broward and Miami-Dade Count:ies (hereinatter referred to as “PlaintiEf
Reta.ilTrac”). PlaintiffTeam caused Plaintiff RetailTrac to be established for the purpose
of maintaining separate product identification for the computer software and related
services that Plaintiff Team had created or caused to be created for its exclusive
ownership and licensing to others. During all pertinent timcs, Plaintiff RetailTrac has
been engaged in providing services and related computer software for use by the son
drink, beer, wine and spirits industries and in developing applications for its services and
software to other industries These activities are conducted in the state of Florida and
throughout the United States.

4. Based on information and belief, Defendant Ken Wahler (“Defendant

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Wahler”) has his principal residence in and is a citizen of the State of Maryland, but
transacted the business relevant to the jurisdictional matters covered in this Amended
Complaint in Florida

5. Defendant SalesTrac, Inc., f/lc/a Allureware, lnc. and a/k/a Ailureware,
Inc. DBA Salestrac, Inc. is a Maryland corporation whose publicly reported principal
office is at 1758 Greenspring Valley Road, Stevenson, Maryland 21153 (see websitc of
the Maryland Dcpartment of Assessments and Taxation) (“Salestrac"). Pricr to March
27, 2006, corporate Defendant Salcs Trac operated under the legal corporate name of`
Allureware, Inc. On such date, individual Defendant Ken Wahler caused such
corporation to change its name to one similar to the RetailTrac name (possibly having the
effch whether intended or not, of creating product identitication with such entity at the
expense of Retail'l`rac, which was already in operation). Such corporation engaged in the
tortuous acts relevant to this Complaint in Florida by and through its controlling otiicer
and owner Ken Wahler.

.lurisdiction

6. This court has personal jurisdiction over the Defendants by virtue of the
Defendant, Ken Wahler is a party to, or otherwise bound by, a contract negotiated5
fonned, performed and breached in the State of Florida. Mr. Wahler used Defendant,
Sales 'l`rac, L.L.C. to breach such contract, acting as its controlling offer and owner.
Both Defendants engaged in tortuous acts in Florida. in addition, one or both of the
Defendants committed tortious acts at least in part within the state of Florida. 'I'he above
actions by the Defendants subject them to the personal jurisdiction of this court pursuant

to Florida’s Long~Arm Statute, §48.193, P.S._(ZOO$).

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'I`eam Enterprises, lnc. and RetailTrac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

7. This court also has jurisdiction over this matter inasmuch as Count XHI of
this complaint seeks a declaratory decree under Chapter 86 of the Florida Statutes (2005).
ss Fla. Sw. § 36.011.
Venue
8. Venue exists in this County for the following reasons:

A. Virtually all of the necessary nexus activities for establishment of
proper venue and the basis for the causes of action listed hereinafter occurred in or about
Miami-Dade County, Florida.

B. The personnel and operations of the business that is at the center of
the dispute represented by this Complaint are currently located in or about Miami-Dade
County, Florida. 'I'he majority of the persons whose testimony will be required at trial
and in deposition are located in or about South Florida while only Mr. Wahler is located
in Maryland.

General Background Facts as to All Counts

9. F or a number of years before May 2003, Plaintiff Team and its principals
engaged in business activities related to the marketing of alcoholic and noualcoholic
beverages and provided services to manufacturers disuibutors, and retailers in the non-
alcoholic and alcoholic beverages industries

10. During that time, PlaintiE Tcam developed confidential business methods
and processes that it maintained as trade secrets. 'l`o achieve a high degree cf success in
the “connected", international business environment faced by modern day businesses,
Team envisioned the incorporation of their trade secrets and confidential business

methods and practices into a software program that would enable manufacturers

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distributors and retailers to stay “connected” and, among other things, track inventory
and sales in a practical and convenient format The general idea was to better coordinate
the marketing and inventory facets of the beverage and spirits industries, provide for a
more practical and efficient billing method for services and other items, and provide a
more efficient method 'of paying certain, trained and experienced independent contractors
and other personnel and monitoring their time commitments and evaluating the results of
marketing efforts In addition, Team envisioned the expansion of the computer software
to track and process important information relative to the business of Plaintiff'l`eam (e.g.,
the names, addresses, and other contact information of its trained independent contractors
and their rates of compensation). Further, Team envisioned the software serving as a
streamlined and valuable client billing and independent contractor traclcing, scheduling of
event marketing coverage, and payment system Team eventually gave this process the
name “Retail'l`rac”. To work efficiently and eti`ectively, the process was conceptualized
and designed by Team to receive, store, and process confidential and trade secret
information of Team and of its customers to whom Plaintid` owed a contractual and
common law duty of protection of the confidentiality of such information For example,
the program would receive and store a list and contact information of all of Team's
clients and Team’s marketing focus groups. Team designed its operations in a
confidential and proprietary mode. lt assembled groups of marketing personnel who
would be paid as independent contractors, receive specialized training on marketing
products or in spech industries that Team would service as a specialized marketer, and
who would form an integral part of a “team" (hence the company name) to provide to-

notch marketing services to Team’s clients. Tbe list of such person’s names and contact

 

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Team Enterprises, Inc. and Retail'l`rac, L.L.C. v. Wahler and SalesTrac. L.L.C.

 

information is extremely valuable to Team and potentially of great value to its
competitor.

ll. To actualize its software concept and design, Team assembled a design
group and hired a so&ware programmer to build the software program, using Team’s
confidential and proprietary trade secrets and information and its concepts and ideas for
the schware that reflected Team’s proprietary business methods and practices

12. Team provided the “for hire” software engineer the concept and desig: of
the computer program and the desired screens and functions 'I`he schware engineer
drafted the computer schware code in an attempt to cause the computer software to fulfill
Team’s concept and design The project produced the first version of the computer
software program in dispute among the parties.

13. At some point in time, Plaintiff Team encountered problems with such
software The software code required adjustment and rethinldng. 'l`he program was not
working as conceptual.ized and designed by Team.

14. Plaintiff Team did not feel they had sufficient expertise in-hcuse to dc
such adjustrncnts and had lost ccnidence in its "t'or hire” software engineer to effect such
adjustments

15. By mid 2003, Plaintiff Team had met and determined that Defendant
Wahler appeared to have the ability they required to adjust and draft new software code
for the program, and Team held discussions with such Defendmt about hiring him as an
independent software contractor to help Plaintiff Team. Team offered to hire Wahler to

adjust or write new code for the sotiware as a_n independent contractor with no

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Team Entcrprises, lnc. and Rctail'l'rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

proprietary interest in the software or its inherent trade secrets or confidential processes
and business methods

l6. On or about May 26. 2003, Plaintiff Team met with Defendant Wahler at
Perricone’s restaurant near Brickell in Miami, Florida (the “Penicone Meeting”).
Plaintiff Team maintains an office near such location At such mecting, Defenth
Wahler verbally accepted the “for hire" offer of Plaintiff Team for the redrafting of the
software so that it would achieve Team’s design and intended purposes in keeping with
its business model and coanential and trade secret processes (the “RetailTrac
softwarc”). Later, Plainti&`s and Defendants expanded the agreement to include r.he
hosting of the software on an internet platform by Defendants on a monthly fee or other
“for hire” basis without Defendants being entitled to any ownership interest in the
software or the confidential data it captures.

17. Plaintiffs have retained undersigned counsel to represent them in filing
and prosecuting this case and have incurred and are responsible for all attorneys’ fees and
costs associated therewith

Count l
(Damages for Fraud in the inducement
Against Ken Vl'ahler)

Plaintiff’l`eam sues Defendant Wahler and alleges as follows:

l8. This is a cause of action for damages in excess of $75.000 against
Defendant Wahler for breach of a contract negotiated in South Florida and formed among
Plaintiff Team and Defendant Wahler in or about Miami-Dade County, Florida.
Plaintiffs performed their part of the Contract South Florida. Wahler performed a

significant part of his obligations under the Cont:ract in South or about Miami-Dade

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County, Florida.

l9. Plaintiff reincorporates the allegations of paragraphs 2-17, above.

20. At the Penioone Meeting, Ken Wahler made the following statements to
Defendant Team:

A. Defendant Wahler was an honest individual.

B. Defendmt Wahler was a computer software expert who would
work for a fee to draft computer software code for its Retail'|`rac computer software

C. Defendant Wahler did not intend to misappropriate or lay any

_ claim to the resulting computer software product

D. Defendant Wahler understood and would not to breach the strict
confidentiality of, or use or otherwise disclose, any or all confidential information and
business or trade secrets and data of Plaintiff Team, or of third persons entrusted to
Team, or use such inforrnatioo, data,- or secrets, directly or indirectly, for his personal
gain to thc detriment of Plaintih` Team.

E. Defenth Wahler did not directly or indirectly intend to breach
the strict confidentiality of the RetailTrac software program of Plaintiff Team, or
reengi.neer it or otherwise duplicate it in whole or in part for use by him or anyone else,
and did not_ intend to misappropriate it in any shape or fashion or otherwise
misappropriate any of Plaintiff Team’s business opportunities or gainful activities related
to or arising out of such software, its applications, marketing, or any other nses. Further,
Defendant Wahler stated that he understood the information that would be maintained by
the program would include third party information of a confidential nature entrusted to

Team by its clients and that such information must be maintained in 'the strictest

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Team Emcrprises, Inc. and Retail’l`rac, L.L.C. v. Wahler and SalesTrac. L.L.C.

 

conEdentiality and not misappropriated or malused by him.

F. Defendant Wahler intended to provide software development
services for the exclusive use and benefit of PlaintilfTeam in exchange for a fee.

G. Defendant Wahler intended that PlaintiH` Tea.rn (or a company that
it would forrn, i.e., Plaintiff RetailTrac) would become the owner of all intellectual
property and software source code developed by Defendant Wahler, and such entity(ies)
would retain exclusive ownership thereof

H. Defendant Wahler was a trustworthy individual who would not lie
to Plaintiff Team in an effort to steal its valuable trade or business secrets or computer
software and was a “man of his word”.

21 . The statements were false. With respect to the statements of his
intentions, Defendant Wahler did not have the intentions that he stated to Plaintiff Team.
22. Thc statements were false as fcllows:

A. Defendant Wahler was not then an honest individual and is not one
today.

B. Defendant Wahler was not a computer software expert who would
work for a fee and adjust its Reta.il'l`rac computer software and without intending to try to
assume ownership over the resulting work product.

C. Defendant Wahler intended to misappropriate or lay claim to the
resulting computer schware product.

D. Defendant Wahler intended to breach the strict confidentiality of
any and all business and trade secrets of Plaintiff Team and use such secrets for his

personal gain co the detriment of PlaintiH`Team.

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Team Enterpn'ses= Inc. and RelailTrac, L.L.C. v. Wahler and Salesqu L.L.C.

 

E. Defendant Wahler intended to breach the strict confidentiality cf
the Retail'l`rac a/k/a Sales Trac software program cf Plaintiff Team, and to reengineer or
otherwise duplicate the program for use by him or ancther, and to misappropriate it and
any of Plainti&` Team’s business opportunities or gainful activities related to or arising
out of such software its applications, marketing, or any other uses. Defendant Wahler
intended to usc the confidential third party information of Team’s clients for his own
business purposes and, pcssibly, disclose it to third parties.

F. Defendant Wahler did not intend to provide software source code
services for the exclusive use and benefit cf Plaintiff Team in exchange for a fee. in faet,
he intended all along to acquire the software for himself and learn the confidential and
secret business and trade practices cf Plaintii’fTeam, and to acquire con§dential data, and
tc benefit therefrom to the exclusion of Plaintiff Tenrn.

G. Defendant Wahler did not intend for Plaintiff Team (or a company
that it would form, i.e., Plaintiff Retail'l`rac) to become the owner cf all intellectual
property and software source code developed by Defendant Wahler, nor that such
entity(ies) would acquire and retain exclusive ownership thereof.

H. l Defendant Wahler was not then a trustworthy individual, nor is he
one today, and would and did lie to Plaintiff 'l`eam in an effort to steal its valuable trade
or business secrets cr computer software and was not a “man of his word”.

23. Defendant Wahler knew at the time he made such statements including,
without limitation, his statements cf intent, that the statements were false.

24. The following actions of Defendant Wahler demonstrated the statements

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Team Enterprises, inc. and Retail'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

were'false, particularly the statements cf his intentions‘:

A. I-Ie changed the name of a Maryland corporation that he owned to
the almost the identical substantive name cf Plaintiff Retail'l`rac, the only difference
being replacement cf the word “Retail" with the word “Sales", i.e., to “SalesTrac". One
cf the purposes cf such change appears to be the creation of a substantially similar
company name and associate the Retail'l`rac computer software and services, and
intellectual property, with his company, all to the detriment of Plaintiffs.

B. He commenced a concerted effort to market his services and
computer software to perform the same or substantially identical tasks as the RetailTrac
computer software and used the name Sales Trac for such competing and duplicate
computer software all to the effective exclusion of Plaintift`s. Specitically, he contacted
one or more major beverage industry companies and promoted himself and SalesTrac in a
manner that did not include any statement that the RetailTrac a/k/a SalesTrac product was
the sole and exclusive intellectual property ofPlaintiH`s.

C. He and SalesTrac have collected fees and profits from the use of
the Retail'l`r'ac a/k/a Sales Trac program and other intellectual property for his benefit and
account to the effective exclusion of Plaintiffs.

D. He has verbally and in writing asserted ownership of the
RetailTrac a/k/a SalesTrac program and other intellectual property and has offered to
license it back to Plaintiffs. In that regard, Defendant Wahler has even dispatched a draft
of a licensing agreement to Plaintift`s, which effectively states his company Defendant

SalesTrac is the owner of the intellectual property of Plaintiffs and is offering to license it

 

‘ Such actions are merely a sample of the actions taken by him and are not intended to be mutually
exclusive nor preclude additional actions &orn being discovered and proven at the trial of this matter.

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Team Enterprises, Inc. and RetailTrac, LL.C. v. Wahler and SalesTrae, L.L.C.

 

to PlaintiB`s.

E. Defendant Wahler recognized the profit potential of Retail‘I`rac
a/k/a Sales Trac and made such untrue statements for the purpose of causing Plaintiff
Team to rely on such statements and to disclose sensitive and valuable trade and business
secrets of Plaintifme and the computer source code of the Retail'l`rac a/lda Sales Trac
software

F. PlaintiffTeam relied on such representations of Defendant Wahler
and disclosed its valuable business and trade secrets and the computer schware code of
its then existing program to Defendant Wahler and hired him as an independent
contractor to adjust and further develop the software now known as RetailTrac a/lc/a
SalesTrac (the “Disputed Sohware").

G. Defendant Wahler billed for his services using invoices addressed
to Plaintiff Team on a printed format that purported to come from a company called
SalesTrac that does not appear to have been in existence at the time of the invoices2
Plaintiff Team paid such invoices.

25. Defendant Wahler has engaged or caused Defendant SalesTrac (a
company that he effectively controls and receives valuable economic benefits from) in
the following actions that have resulted in damages to Plaintifl`s:

A. Defendant Wahler has caused his company Defendant SalesTi'ac,
Inc. to market the same services and software products as the services and software
products of PlaintiH`s, using the trade or business secrets and computer software of

Plaintiffs obtained as a result of the false statements uttered by Defendant Wahler.

 

z ne invoices predate the name change amendment in 2006 for Allureware, lnc. Accordingly, it would
appear at first glance that Defendant Wahler was billing for his "for hire" work under a fictitious name.

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Team Enterprises, lnc. and RetailTrac, L.L.C. v. Wahler and SalesTrac. L.L.C.

 

B. Defendant Wahler changed the name of the Maryland Corporation
he controlled to SalesTrac, a name substantially similar to Plaintiff Retail'l`rac, which
serves to create user confusion, dilute the business identity of Plaintiff RetailTrac and its
computer sohware, and effectively compete directly with Plaintiffs, using the trade or
business secrets and computer schware of Plaintiffs that Defendants obtained as a result
of the false statements specified above.

C. Defenth Wahler dispatched an agreement entitled “Sot’cware
Licensing Agreemcnt” to Plaintiffs laying claim to the trade and business secrets of
Plaintiffs and its computer software known as Retail‘l`rac a/k/a SalesTrac and offering to
license it back to Plainti&`.

D. Defendants have retained the computer software code and have
refused to return it to PlaintiEs.

E. Defendants have revealed the confidential third party information
to third parties and have otherwise malused such information

F. Defendants have revealed the confidential information of Team
relative to its trained independent contractors to competitors of Team.

G. Defendants have engaged in actions intended to form a business in
direct competition with Plaintifl`s and are malusing and misappropriating the confidential
information for their own business purposes

26. As a consequence Plaintiffs have suffered and are condoning to suffer
signiiieent monetary damages and are unable to advance the interests of their business.
27. Plaintiffs have retained the services of undersigned counsel and are

obligated to pay them a reasonable fee therefor.

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Team Enterprises, Inc. and Retnil'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

WHEREFORE, Plaintif£s demand judgment against Defendant Wahler for
damages, attomcy’s fees, pre-judgment and post judgment interest, and in the event that
the Court determines the award of punitive damages is proper, for punitive damages.

Count lI
(Darnagcs Under Breach of Oral Agreement Against Defendant Wahler)

Plaintiff Team sues Defendant Wahler and alleges as follows:

28. 'I'his is a suit for damages in excess of S 75,000 arising out of a contract
entered into, to be performed in significant part performed and breached in or about
Miami-Dade County, Florida_

Plaintili`realleges the allegations of paragraphs l-l7, above.

29. Plaintiff Team and Defendant Wahler entered into an oral agreement

under which Defendant Wahler would provide personal services, and act as a “for

hire" schware cngineer, for Plaintiff Team.

30. ln pertinent part, the oral agreement contained the following terms and

conditions:

A. Defendant Wahler would provide personal services consisting of
making adjustments to the existing software code and drafting new software code for
Plaintiff'l`cam.

B. Plaintiff Team would pay Defenth Wahler for such services by a
combination of fixed and hourly fees, the specific detail being contained in the invoices
that Defendant Wahler presented f`or payment.

C. PlaintiH` Team agreed to provide additional compensation to
Defendant Wahler by providing him with aten percent (10%) minority equity interest in

PlaintiffL.L.C., with an opportunity to increase such interest to fifteen percent (15%),

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Team Enterprises, Inc. and Retail'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

subject to his execution of a buy-sell and organizational agreement as to the entity to be
incorporated that was satisfactory to Plaintiffs.

D. Plaintiff Team would retain all ownership rights in the Retail'l`rac
a/k/a Sales Trac program and other intellectual property (e.g., the computer source code,
ctc.) and its valued components, which they would transfer to Plaintiff Retail'[`rac.

E. Defendant would maintain as confidential all business and trade
secret information of Plainst and its third party clients and trained independent
contractors and not reveal it to anyone else or otherwise directly or indirectly use it or
seek to profit from its use.

F. Defendant would not seek to assume control and use of the
RetailTrac a/k/a Sales 'I`rac sohware, or produce similar software, or market it to any of
his contacts for his account.

G. Defendant Wahler would not directly or indirectly set up and
pursue a business in competition with Plaintiffs, using their computer program and
confidential information or that of their third party clients and trained independent

contractors

H. Defendant Wahler would provide all of the computer source code
and the resulting, adjusted computer program lcnown then as RetailTrac (later it also
became known as SalesTrac) to PlaintiH"s upon completion of his work.

l. [n return for his compensation, and equity participation in a
corporation or LLC to be formed (e.g., Plainti&` RetailTrac) , Defendant Wahler agreed to

maintain the servers that would be connected to the intemet and run the Retail'l`rac a/k/a

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Team Enterprises, lnc. and RetailTrac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

SalesTrac computer program and would ensure that no interruption in such service
occurred for customers who usc Retail'l`rac a/k/a SalesTrac.

J. Plaintiff Team has materially complied with its obligations under
the oral agreement and performed its duties thereunder.

31 . Defendant Wahler has breached the oral agreement as follows:

A. Defendant Wahler has engaged in actions and taken positions that
challenge the ownership rights of PlaintiB`s in RetailTrac a/k/a SalesTrac and its valued
components and intellectual property.

B. Defendant did not maintain all business and trade secret
information of Plaintiffs confidential and has sought to profit from its use.

C. Defendant has sought and continues to assume control and use of
Retail'l`rac a/k/a SalesTrac.

D. 'Defendant has sought and continues to market Retail'l`rac a/k/a
SalesTrac to his contacts for his account

E. Defendant has failed and continues to refuse to provide the source
code and the resulting, adjusted computer program lcnown as RetailTrac a/k/a SalesTrac
to Plaintiffs.

F. Defendant warner has threatened w “shut on" the sewers that m
courtech to the intemet and run the RetailTrac a/lc/a SalesTrac computer program and,
thus, create an interruption in such service to customers who use Retail'l`rac a/l</a
SalesTrac. Any such interruption would result in a serious disruption to the service and

would effectively cause significant and serious losses to the Plaintiffs and the customers.

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Team Enterprises, lnc. and RerailTrac. L.L.C. v. Wahler and SalesTrac, L.L.C.

 

G. Defendant Wahler has malused and misappropriated the
confidential information for his and Defendant Sales Trac’s business interests

32. Sometime in late 2005 or early 2006, Plaintiff Team received information
that Defendant Wahler had breached the oral agreement in the respects stated above.

33. Plaintiff Team has objected to such breaches and verbally demanded that
Defendant Wahler comply with the terms of the oral agreement

34. Despite several overtures by Plaintiff Team and false and empty offers of
cooperation by Defendants, each of them has failed and refuses to remedy such
breaches

35. As a direct and foreseeable result of such breaches Plaintiff Tcam has
suffered and will continue to suB`er darnagcs, generally as follows:

A. Plaintiff Team is unable to enjoy the exclusive use and benefit of
its RetailTrac a!k/a SalesTrac product without the cloud on its title and ownership created
by the actions of Defendants

B. Plaintiff Team is unable to market the RetailTrac a/k/a Sales Trac
product as its own to important clients in the alcoholic and nonalcoholic beverage
industries and expand its use to other potentially more lucrative industries and for other
purposes.

C. Plaintiff Team does not have a copy of the Reu\ilTrac a/k/a
SalesTrac program and is unable to gain access to it.

D. A reduction in value or potential value of Plaintiff Team.

E. A reduction in the lvalue of the RetailTrac allda SalesTrac

intellectual property and its components (e.g., the computer software and source code).

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Team Enterprises, l.nc. and Retai]'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

F. Plaintiff Team is experiencing lost business and the dissemination
of its confidential and trade secret information to third parties, all to its detriment
G. PlaintiH` Team is also experiencing the possible dissemination of
other confidential and trade secret information that it is obligated to maintain as such, all
to its detriman
36. ln the interest of convenience Plaintiff Team has attempted to settle its
differences with Defendants amicably, all to no avail.
37. Plaintiff Team has suffered, and continues to suffer, consequential,
incidental, and other damages as a result of the breach by Defendant Wahler of
the oral agreement
38. Plaintiff Team has engaged undersigned law firm to represent him in this
suit and action and are obligated to pay a reasonable fee therefor.
WHEREFORE, Plaintiff Team demands judgment against Defendant Wahler for
damages interest (including both pre-judgment and postjudgment interest) and costs,
and in the event that this Court determines that the award of punitive damages is ptoper,
for punitive damages

Count III
(Damagcs for Conversion Against Defendants Wahler and SalesTrac)

Plaintiffs sue Defendants and allege as follows:

39. 'I'his is a suit for damages in excess of S 75,000 arising our of actions
taken by the defendants at least in part in or about Miami-Dade County, Florida
40. Plaintiffs re-allege the allegations of paragraphs 2-17, 22-28, and 30 of
this Complaint.

41. Plaintiti`s are the rightful and exclusive owners of intellectual property

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Team Enterprises, lnc. and RetailTrac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

consisting of a computer software program (and its source code) and related and
inherent business and trade secrets. This property is known as RetailTrac alicia
SalesTrac.

42. Defendants have acknowledged that fact.

43. However, Defendants have wrongly converted such property for
themselves by doing the following:

A. Defendants have engaged in actions and taken positions that
challenge the ownership rights of Plaintift`s in RetailTrac a/k/a SalesTrac and its valued
components and intellectual property.

B. Defendants have sought to profit from the use of Retail'l`rac a/lt/a
SalesTrac in a manner that challenges the exclusive ownership of such asset by Plaintiffs.

C. Defendants have sought and continue to assume control and use of
Retail'l`rac a/lt/a SalesTrac.

D. Defendants have sought and continue to market Retail'l`rac a/l</a
SalesTrac to their contacts for their account

E. Defendants have failed and continue to refuse to provide the source
code and the resulting, tweake'd and adjusted computer program known as Retail'I`rac_
a/k/a SalesTrac to Plaintiii`s.

F. Defendant Wahler has threatened to “shut ofl” the servers that are
connected to the intemet and run the RetailTrac elk/a SalesTrac computer program and,
thus, create an interruption in such service to customers who use Retail'I`rac a/k/a
SalesTrac. Any such interruption would result in a serious disruption to the service and

would effectively cause significant and serious losses to the Plaintist and the customers

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Team Enterprises, lnc. and Retailec. L.L.C. v. Wahler and SalesTrac, L.L.C.

 

44. Plainti$ have been damaged and continue to suffer damages as a result of
the defendants’ wrongful misappropriation, use and retention of such property in
the following respects:

A. Plaintiffs are unable to enjoy the exclusive use and benth of their
Retail'l`rac a/k/a SalesTrac product without the cloud on its title and ownership created by
the actions of l)efendants.

B. Plaintiffs are unable to market the Retail'[`rac a/k/a SalesTrac
product as their own to important clients in thc alcoholic and nonalcoholic beverage
industries

C. Plainti&`s do not have a copy of the Retail'l`rac a/k/a SalesTrac
program and are unable to gain access to it.

D. A reduction in value of Plaintiffs.

E. A reduction in the value of the Retail'l"rac a/k/a SalesTrac
intellectual property and its components (e.g., the computer software and source code).

WHEREFORE, PlaintiB`s demand judgment against Defendants for damages,
interest and costs, and, in the event that this Court determines that such is appropriate for
punitive damages

Count IV
(Suit for Declaratnry Judgment and Supplemental Relief under Chapter 86
Against Defendants Wahler and SalesTrac)

Plaintiffs sue Defendants, and allege as follows:

45. This is a suit for declaratory judgment under Florida Statute Section
86.011 (2006). The facts and circumstances giving rise to this request for

declaratory relief have occurred in substantial measure in or about Miami-Dade

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Team E.nterprises, lnc. and Retail'l`rac, L.LC. v. Wahler and SalesTrac. L.L.C.

 

County, Florida.

46. Plaintiffs re-allege the allegations of paragraphs 2-17, 22-28, 30, and 33-
34 of this Complaint.

47. Based upon the foregoing facts, Plaintiffs believe that they are the rightful
owners of the so-called RetailTrac a/k/a Sales Trac software program (and its
source code and other intellectual property and inherent business and trade
secrets) and all aspects thereof.

48. Defendants have contended, and continue to contend that, and act as if,
they are the owners of the Retail’l`rac afk/a Sales Trac computer software program
and its components (and its source code and other intellectual property and
inherent business and trade secrets).

49. Defendants' actions have cast doubt as to the rights of ownership of
Plainst in the Retail'l`rac a/k/a. SalesTrac program and require the equitable
intervention of this Court.

50. This Court should declare that Plaintiffs are entitled to sole ownership, and
have sole ownership of, the RetailTrac afl:/a SalesTrac system., including, without
limitation, all of its components (and its source code and other intellectual
property and inherent business and`trade secrets) for the following reasons:

A. Plaintih` Team developed the Retail'l`rac system and all of its
components, and were marketing it and overseeing its use, before the relationship arose
between Plaintiffs and Defendant Wahler. All that Defenth Wahler did was to provide
computer software code drafting and consulting services (on a “'for hire" basis) that took

the existing business and trade sccrets, and secret processes, inherent in the RetailTrac

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Team Enterprises. Inc. and RetailTrac, L.L.C. v. Wahler and Salcs'l`rac, L.L.C.

 

a/k/a SalesTrac computer software source code and adjust it to accomplish the business
ideas and development and design concepts of Plaintii`fs. 'I`his does not give rise to a
proprietary interest in the system itself in the Defendants.

B. In the event that this Court determines that there was a contractual
relationship between the parties, the parties agreed that the RetailTrac a/k/a SalesTrac
system and all of its components belonged to, and would continue to belong to, Plainti&`s.

51. Plaintiffs do not have an adequate remedy of law.

WHEREFORE, Plaintili`s respectfully request this Court to do the following:

a. To take jurisdiction of this cause;

b. To declare the rights of the parties;

c. Speciiically, to declare that the software program, and components
thereof, including the computer source code and known as Retail'l`rac a/k/a SalesTrac, is
the sole and exclusive property of Plaintiffs, and that Plaintili`s have sole and exclusive
proprietary interest in the same and that such property constitutes “trade secrets" of
Plaintifi`s;

d. To grant such supplementary relief as may be required by virtue of the
court’s declaration, including the entry of an injunction enjoining Defendants and their
agents. affiliated or related businesses servants, employees attomeys, and other persons
acting on their behalf, from asserting ownership of the software program and source code
(and other intellm:tual property and inherent business and trade secrets) known as
RetailTrac a/k/a SalesTrac, and from utilizing or marketing same, and from disclosing
any business or trade secrets related to same; and

e. To grant such other relief as this Comt deems appropriate

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Team Enterprises. lnc. and RetailTrac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

Count V
(Suit for Replevin of Computer Software Program‘and Source Code and
Other Proprietary or Con!idential Ini'ormation of Plaintiff, or entrusted to Plaintiff
By third Parties, Agaiust Defendants Wahler and SalesTrac)
Plaintiffs sue Defendant and allege as follows:

52. This is a suit for replevin under Florida Statute Section 78.01 (2006). The

facts and circumstances giving rise to this action have occurred in substantial

measure in or about Miami-Dade Cotmty, Florida.

53. PlaintiB's re-allege the allegations of paragraphs 2-17, 22-28, 30, 33-34,

and 46 of this Complaint.

54. Defendants have wrongfully detained and used for their personal gain the

property of PlaintiH`s (i.e., the computer software program and confidential and

proprietary information and trade secrets of Plaintiffs - the computer program is

known as RetailTrac a/lda SalesTch. The Defendants are in possession of the

claimed property pursuant to an oral agreement that obligates them to provide

web hosting and related services in connection with the operation of the computer

program Defendants have breached such agreement and the initial “for hire"

contract as recited in the preceding counts of this Complaint. Plainti&`s have

requested the return of the claimed property and Defendants have refused to

provide it to Plainti ffs.

55. Plaintiffs have also requested the cessation of its use by Defendants;

however, Defendants refuse to discontinue the use of the claimed property for

their profit and have disclosed the confidential and proprietary information

captured in such property to third parties

56. The claimed property consists of a computer prograrn, manua]s, computer

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Team Enterprises, Inc. and Retail'l`rac, L.L.C. v. Wahler and SalesTrac. L.L.C.

 

source code, and confidential and proprietary data of Plaintiffs or their clients.

Such items are maintained in electronic media or other format, and data stored on

computer hard drives, servers, individual desktop computers, which are in the

possession and control of Defendants or persons under their direction and control.

57. Plainst further state as follows:

f. The value of such property is at least SI,OO0,0U0.00 and the value of
the conEdential data is well into the millions, as it includes
confidential sales and location data that would provide an edge to
competitors if disclosed to them; and

g. The property in question is located in the possession and control of
the Defendants in or about their offices in or about 1758 Green spring
Valley Road, Stevenson, Maryland 21153.

58. Plaintiffs arc the owners, and, in the case of the third party data the
caretakers and rightful protectors, of the claimed property and arc entitled to its sole
possession, use and/or control. The source of such title is set forth in the paragraphs
incorporated in this count above. In sumrnary, the property consists of confidential and
trade secret information of PlaintiH`s and a. computer software program generally known
as Rerail me ama sales'rra¢ LLc. Funher, moved hereto as Exhibit w is a me and
correct copy of a communication ii'orn the attorney for Defendant Wahler that includes a
letter agreement dratted by him and reciting that sole title and ownership to the claimed
property and confidential data captured in the computer software program that is the
subject of this action is the sole property of Plaintiff Retail'['rac.

59. The claimed property has not been taken for a cax, assessment or fmc

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Team Enterprises. Inc. and Rctail'l`rac, L.L.C. v. Wahler and SalesTrac, L.L.C.

 

pursuant to law.

60. The claimed property has not been taken under an execution or attachment

against the property of PlainliH`s.

WHEREFORE Plaintiffs demandjudgrnent for possession of the property.

Reservation of §§th to Amend the Complaint tn Allgc Count fcc 'l`;gble Daggges
In Civil Theft under Florida Statutes Seetion 772.1} 1200§1

Plaintii?s reserve the right to further amend this Complaint to include a count in

civil theft under Florida Statutes Section 772.11 (2006), seeking treble damages, upon the

satisfaction of all conditions precedent thereto. Attached hereto is a true and correct copy

cfa ElO-da}r letter served on Defendants along with a copy of this amended complaint

Demand for Jury Trial

Plaintiffs respectfully demand trial by jury of all issues posed by this

Complaint and which are triable as a matter of right by a jury of their peers.

Datcd: June 25, 2007

anoor<s a ALAvoN, L.L.P.
4551 PoNcl-: DE LEoN aoULEvARD
coRAL GABLES, FLORIDA 33146
(305)221-2110

(305)221-5321 (FAX)
ail RALAYON LAYol Aw.coM

'%

 

GARY S. BR , ESQ.,

Fla. Bar No. 328

RlCHARD . ALAYON, ESQ.,
Fla. Bar No. 934290

JORGE E. ISAAC, ESQ.

Fla. BarNo. 0845841

Attomeys for Plaintiff`s

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/ ‘ lead
f m THE Clncurr count or THE m'H
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§ DAD£ coLrNTY, FLoRn)A

Team Entcrprises, lnc., a Florida
Corporation, and RetailTrac, L.L.C., GENERAL JURISDICTION DIVISION
a Delaware Corporation

CASE NO.: 06-1 1198 CA 32
Plaintiff
v.

Ken Wahler, Individually, and
SalesTrac, lnc., a Maryland

 

Corporation,
Defendants
l
SUMMONS
THE S’I`ATE OF FLORIDA:
To Each Sherifl`ofthc State:

YOU ARE COM.\IANDED to serve this summons and a copy of the complaint or petition in this action on
Defendant(s):
Ken Wahler. ludividually
1758 Greenspring Valley Road
Stevenson, MD 21153
Ol'
901 East Fayette SL
Baltimore, MD 21202
(Work)
1501 Labelle A\'enne
Ruxton, MD 11204
(Home)

The defendant is hereby required to serve written defenses to the complaint or petition on Plaintifl’s attorney:

RICHA.RD A. A.LAYON, ESQ.
BROOKS & ALAYON, LLP
4551 Ponce de Leon Boulevard
Coral Gables, FL 33146

within 20 days alter service of this summons on that defendant, exclusive of the day of service, and w file the
original of the defenses with the Clerk of this Court either before service on Plaintist attorney or immediately
thereafter. lfa defendant fails to do so, a default will be entered against that defendant for the relief demanded in the
complaint or petition

JUN
DATED ON 2 8 m

 

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MORTANT

A lawsuit has been filed against you. You have twenty (20) calendar days alter this summons is served on
you to tile a written response to the attached complaint with the Clerk of this Court. A phone call will not protect
you; your written response, including the case number given above and thc names of the partics, must bc filed if you
want the side of the casc. lf you do not tile your response on time, you may lose the case, and your wages, money,
and property may thereaher be taken without iitrther warning from the court. There are other legal requirements
You may want to call an attorney right away. lf` you do not know an anomey, you may call an attorney referral
service or a legal aid office listed in the phone book

lf you choose to tile a written response yourself, at the same time you file your written response to the court
you must also mail or take a copy of your written response to the "Petitioners' Attomey" named below.

D{PORTANTE

Usted ha sido demandado legalrnentc. 'I`iene 20 dia, contados a partir del recibo de csra notificacion, para contestar
la demands adjunta, por escrito. y presentarla ante estc tribunal. Una llamada telet`onica no lo protegera. Si usted
desca que cl tribunal considere su defensa, debe presentar su respqu put escr'ito, incluyendo el numero del case y
los nombres de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus dereehos, sin previo aviso del tribunal. Existen otros
requisitos legales. Si lo desca, puede listed consultar a un abogado immediatamente. Si no conoce a un abogado,
puede llamar a una de las of'rcinas de asistencia legal que aparencen en la guia telefonica.

Si'desea responder a la demands por su cuenta, al mismo tiempo en que presents su respuesta ante el tribunal,
debera usted enviar por oorreo o enu'egar una copia de su requests a la persona denominada abajo come
"Plaintih'./Plaintifl’s Attomcy" (Demanrlante o Abogado del Demandante).

lMPORT NT

Des poursuites judiciares ont etc entreprises connie vous. Vous avez 20jours mnsecurifs a partir de la date
dc l`assignation de cede citation pour deposer unc reponse ecrite a la plainte ci-jointe auprcs de cc Tribunal. Un
Simple coup de telephone est insuh`rssant pour vous proteger. Vous etes oblige de deposer votre reponse ecrite, avec
mention du numch de dossier ci-dsssus et du nom de parties nommees ici_. si vous souhaitee que le tribunal entende
votne cause. Si vous ne deposez pas voue reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi
que vou'c salaire, voue l'argent, et vote biens peuvent etre saisis par la suite, sans accun preavis ulterieur du tribuna|.
11 y a d'ar.rtres obligtions juridiques et vous pouvez requcrir les services immediats d'un avocat. Si vous rtc
connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avocats ou a un bureau d'assismnce
juridique (tigurant a l'annuairc dc tclephones).

Si vous choisissu de deposer vous-memo une reponse ecritc, il vous faudra egalement, en meme temps que
cette formalitc, faire parvenir ou expedier une copie de votre reponse ecrite au "Plaintitm’laintifl‘s Attorney"
(Plaignant ou a son avocat) nomme ci dessous.

CaS`e 1:07-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 34 of 45

Jun 29 07 10:27a lionel dausa 305-2627400 p.4

lé»?&

IN THE CIRCUI'T COURT OF THE 11TH
JUDICIAL ClRCUIT IN AND FOR MIAMI-

DADE COUNT¥, FLOPJDA
Team Enterprises, Inc., a Florida

Corporation, and RetailTrac, L.L.C., GENERAL JURISDICT'ION DIVISION
a Delaware Corporation

CASE NO.: 06-11198 CA 32
Plaintiff,

V.

Ken Wahler, lndividua|ly, and
SalesTrac, lnc., a Maryland

 

Corporat:ion,
Defendants.
/
SUMMOI\_I§
THE STA.TE OF FLOR[DA:
To Eaeh Sheriff of the State:

YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in this action on

SalesTrac, Inc.
Attn: Ken Wahler, President
1758 Greenspring Valley Road
Stevenson, MD 21153

The defendant is hereby required to serve written defenses to the complaint or petition on Plaintiii's attorney

RlCHARD A. ALAYON. ESQ.
BROOKS & ALAYON, LLP
4551 Ponce de Leon Boulevard
Coral Gables,FL 33146

within 20 days after service of :l'\is summons on that defendant exclusive of the clay of servicc, and to tile the
original of the defenses with the Clerk of this Court either before service on Plaintiff‘s attemey or immediately
themfier. lf a defendant fails to do so, a default v\n'll be entered against that defendant for the relief demanded in the

complaint or petition.
DATED oN saw 2

l-IARVEY RUV]N
As C rk of the Court

 

Case 1:O7-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 35 of 45

..lun 29 07 10:27a lionel dausa 305-2627400 p.5

IMPORTAN'I`

A lawsuit has been filed against you. You have twenty (20) calendar days arter this summons is served on
you to Hle a written response to the attached complaint with the Clerk of this Court. A phone call will not protect
you; your written response including the case number given above and the names of the parties, must be filed if you
want the side of the ease. If you do not file your response on time, you may lose the case, and your wages, money,
and property may thereaiier be taken without further warning from the court. There are other legal requirements
You may want to call an attorney right away. l!`you do not know an anomey, you may call an attorney referral
service or a legal aid office listed in the phone book_

li` you ehoom to file a written response yourself, attire same time you file your written response to the court
you must also mail or take a copy of your written response to the "Petitioners‘ Attomey" named below.

INIPORTAN'I'E

Usted ha side demandado legalmente. Tiene 20 dias, contados a partir del recibo de csra notificaeion, para contestar
la demanda adjunta, por escrito_. y presentarla ante este tribunal Una llatnada telefoniea no lo protegera. Si usted
desea que el tribunal considere su defensa., debe presentar su respuesta por eserito, incluyendo el numero del case y
los oombres de las partes interesadas. Si usted no conlesta la demanda a tiempo, pudiese perder el caso y podria ser
despojado dc sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal Existen otros
requisites legales. Si lo desee, puede usted consuer a un abogado immediatamente. Si no conoce a un abogado,
puede llamar a una de las ot'rcinas de asistencia legal que aparencen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta ante el tribunal,
debera usted enviar por correo o entregar una copia de su requesta a la persona denominada abajo como
"Plaintit’f/Plaintifi’s Attomey“ (Demanda.nte o Abogado del Demandante).

IMI’ORTANT

Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs a partir de la date
de resignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de ce Tribunal. Un
simple coup de telephone est insufftssant pour vous proteger. Vous etes oblige de deposer votre reponse ecrite, avco
mention du numcro de dossier ci-dessus et du nom de parties nommees ici, si vous souhaitez que le tribunal entende
votre cause. Si vous ne deposez pas votre reporrse ecrite dans le relai requis, vous risquez de perdre la cause ainsi
que votre salaire, vote l'argent, et vous biens peuvent etre saisis par la suire, sans accun preavis ulterieur du u'ibunal.
ll y a d'autres obligations jun'diques et vous pouva. requerir les services immediats d'un avocat. Si vous ne
connaissez pas d'avocat, vous pourriez telephoner a un service de reference d'avoents ou a un bureau d'assistancc
juridique (frgurant a l'annuaire de telephones).

Si vous choisissez de deposer vous-meme one reponse ecrite, il vous faudra egalement, en meme temps que
cette formalite, faire pan/enir ou expedier une copie de vone reponse ecrite au "Plaintifl7Plaintifi’s Attorney"
(Plaignant ou a son avomt) nomme ci dessous.

Case 1:07-cV-21697-UU Document 1 Entered on FLSD Docl<et 07/03/2007 Page 36 of 45

Jun 29 07 10:273 lionel dausa 305-2627400 p.6

IN THE CIRCUIT COURT Ol’-` THE
1 ITl-I JUDlC[AL CIRCUIT IN A`ND FOR
MIAM`[-DADE CGUNTY, FLORIDA

Team Enterprises, Inc., a Florida

Corporation, and RetailTrae, L.L.C., GENERAL IURISDICTION DIVISION

a Delaware Limited Liability Company CASE NO.: 06~1 l 198 CA 32

 

Plaintiff,
v. §}_\_' ,_’
F?L?L;_""\‘§"£W»v_
Ken Wahler, lndividvally, and __ _. °N-°
SalesTrac, lnc., a Maryland ' ~ . .-' '_.- . ._ _
Corporation, f/lc/a Allureware, Inc. and ca __,-NE}` ' ~~;
a/k/a Auurewar¢, Inc. DBA saiesua¢, Inc. C<'Tr¢;j§§_._e>,¢£ op
4 . DA`DE
Defendants. CO' FI.
/
PLAII\ S’ MOTI OR O 0 T S OW CAUSE AS TO

WHY THI§ §QURT SHOQLQ EO:!: !§SQE A WRlT OF REPLEVIN
FORTHW!TH 0& lN THE ALTERNAT!YL FOR OTHER IMMEDIATE
EQU'ITTABLE RELIEF PENDIN§ FINAL JUDGMENT ON THE COUNT l'N

REPLEVIN

Come now, the Plaintiffs and file this motion and in support thereof state as
follows:

l. The Amended Complaint filed in this matter includes a count in Replevin,
seeking the return of a computer software program and confidential data that it maintains.

2. Florida Statutes Section 78.065(1) (2006) requires the Court to examine
the complaint without delay and consider further evidence provided by Plaintiffs and
determine ifDefendant has waived his, her, or its right to be notified of the Plaintii‘f's
motion to obtain a writ of replevin and be heard in connection therewith If the Court
determines that such waiver has occurrcd, then it must promptly issue and order
authorizing the clerk to issue a writ of replevin.

` 3. Attached hereto as Exhibit “A” is a true and correct affidavit of Sean

O’Toole arresting to the facts of ownership and wrongful detainment.

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Jun 29 07 10283 lionel dausa 305-2627400 p.7

4. Florida Statutes Section 78.065(2) (2006) requires the Court to issue an
order to show cause why it should not issue the order of replevin, and fix a date and time
for a hearing on the order, if it cannot determine that a waiver has occurred.

5. Plaintiffs respectfully move this Court to issue an order to show cause
under Florida Statutes Section 78.065(2) (2006) and attaches a proposed order in
compliance with such section f`or the convenience of the Court.

4. 1n the alternative, Plaintiff moves this Court for entry of an order
providing other relief pending final judgment in replevin. Such other relief may take the
form of placement of the computer software program and confidential data in the control
and possession of a third party selected by the Court and that will agree to maintain such
information and program confidential and not duplicate it. Such third party must have
the capacity to “host” the program on an intemet-based server in a manner similar to thc
current web-based format of the program

4. Plaintiffs have retained undersigned counsel to represent them in
connection with the prosecution of this action and are obligated to pay reasonable
anomeys‘ fees and costs therefor.

WI~£EREFORE, Plaintifl`s respectfully move this Court for entry of an order
granting this motion and the relief requested herein and for an award of reasonable
attomcy’s fees and costs incurred by them in connection therewith and for such other

relief as this Court deems appropriate or just under the facts and circumstances

Case 1:07-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 38 of 45

Jun 29 07 10:282 lionel dausa

305-2627400 p.8

Respeetfully Submitted,

BRooKs & ALAvoN, L.L.P.

4551 PoNcE DE LEoN BoU-LEVARD
coRAL GABLES, FLoRn)A 33146
(305)221-2110

(305) 221-5321 (FAX)

Email YoN wALAYoNLAw.coM

25M _,'

GARY S. EROO , ESQ.,

Fla. BarNo. 91 8

RICHARD A. AYON, ESQ.,
Fla. Bar No. 934290

JORGE E. ISAAC, ESQ.

Fla. Bar No. 0845841

Attorneys for Plaintiffs

 

 

CERTIFICATE OF SERVICE

 

l HEREBY CERTIFY that a true and correct copy of the foregoing was mailed this

25 day of June, 2007 to: Defendants c/o Ken Wahler, 1758 Greenspring Valley Road,

Stevenson, MD 21 153.

BRooKs & ALAYON, L.L.P.

4551 PoNcE DE LEoN BoULEvARD
coRAL GABLES, FLoRIDA 33146

(305) m-zl 1 o

(305) 221-5321 (FAX)

Email MWM

     

GARYS. B 00
Fla. Bar No. 91
RICHARD ALAYON, ESQ..
Fla. Bar No 34290

J`ORGE E. SAAC, ESQ.

Fla. BarNo. 0845841

Attorneys for Plainst

Case 1:O7-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 39 of 45

Jun 29 07 10:39a lionel dausa 305-2627400 p.17

[N THE CIRCUI'I` COURT OF THZE l]TH
JUDIC[AL CIRCUTI` lN AND FOR MIAM!-
DADE COUNTY, FLORIDA
GENERAL JURISDICTION DWISION
CASE NO.: 06-1 l 198 CA 32

Team Enterprises, Inc., a Florida

Corporation, and Retail‘l`rac, L.L.C.,

a Delaware Limited Liability Company,

Plaintiffs,

v.

Ken Wahler, Individually, and

SalesTrac, lnc., a Maryland

Corporation, f/k/a Allureware, lnc. and

a/k/a Allureware, lnc, d/b/a Salestrac, Inc.,

Defendants
l

AFF{DAVIT OF SEAN O’TOOLE IN SUPORT OF PLAINTIFF’S MOTION FOR
mm
WRl'l` OF REPLEV]N SHOULD NOT ISSUED

Before me the undersigned authority personally appeared, SEAN O’TOOLE, who being by
me duly swom, on oath, states as follows:
1. My name is Sean O’Toole.
2. I reside in Miami'Dade County, Flo:ida.
3. I am over the age of eighteen years and competent to execute this aBidavit and attest
to the statements contained herein, all of which are based on my direct personal

knowledge

Case 1:O7-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 40 of 45

Jun 29 07 10:393 lionel dausa 305-2627400 p.18
4. l am an employee of Plainti&`, Team Enterprises, Inc. and one of its officers and

shareholders

.Ur

lam a member of Plaintiff, Retail‘l`rac, L.L.C. and one of its officers

6. I have reviewed the Motion for Order to Show Cause and the counts in Complaint,
and the related factual statements contained herein, relating to replevin.

7. Ihave direct personal knowledge a to each of the matters and attest that each is true
and oorrect.

8. Team Enterprises, Inc. contacted Wahleron a “for hire" basis to review our existing
software program and draft new software code to effect our concept and design for
the programs.

9. Team necessarily disclosed confidential information to Mr. Wahler that he
understood and agreed would be kept confidential and not used or disclosed by him
in anyway whatsoever.

10. Mr. Whaler has deceived us and is currently using the program and information for
his own personal gain and has disclosed it to others.

ll. He maintains the information on servers located in or near his home. The
information contained on those servers and the computer program is the sole
property of Plaintiffs and Mr. Whaler has no right or entitlement to it.

12. If` this property s not returned to Plainst, they will be severally and irreparably

hanned.

[ACKNOWLEDGM.`ENT AND NOTARY CLAUSE ON FOLLOWING PAGE]

Case 1:O7-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 41 of 45

 

Jun 29 07 10:39a lionel dausa 305-2627400 p.19
FUR'I'HER AFFIAN'I` SAYETH NAUGHT.
o’roo’LE br
STATE OF FLORIDA )
) ss:
COUNTY 0F DADE )
BEFORE ME, the undersigned authority, personally appeared SEAN O’TOOLE who is
rsonall known to me, or who has produced as identification, who

being first duly swom, deposes and states that he has read the foregoing and that the allegations and
= `~ ¢ ge and belief.

statements contained therein are true and corr \~ -' " ' 'F!
' 4 §

 
 

  

 

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'FLoth)A DEPARTMt-:NT or S'r.»i'rs

DIVISEGN OF CORP{)RA`!`}D;\'S

 

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Events No Name History l Entity Name Search |
Detail by Entity Name

Foreign Profit Corporation
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Cross Reference Name
TEAM ENTERPRlsEs, lNc.

filing lnformation

Document Number F96000000224

 

FEl Number 043190742

Date Filed 01/12/1996

State MA

Status ACT|VE

Elffective Date NONE

Last Event RE|NSTATEMENT

Event Date Filed 05/07/2003
Event Effective Date NONE

Br_incipal Address

12240 S.W. 53RD STREET, SUlTE 506
CC)OPER ClTY FL 33330

Changed 05/07/2003
M`ailing Address

12.240 S.W. 53RD STREETl SUlTE 506
COOPER ClTY FL 33330

Changed 05/07/2003

 

Rogist:ered Agent Name & Address

GF{EGORY, DANlEL
12!951 N.W. 23RD STREET
PEN|BROKE PlNES FL 33028 US

Address Changed: 05/07/2003

Officer/Director Detail
Name & Address
Title CEO

GRAHAM, TODD
6597 coBlA cchLE
BOYTON BEACH FL 33437 EXH|BIT

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GREGORY, DAN|EL
12951 NW 23RD STREET
PEMBROKE PlNES FL 33028

Tit|e SEC

O"TOOLE, SEAN
808 BR|CKELL KEY DR|VE UN|T #902
MlAMl FL 33131

Annual Reports

Report Year Filed Date

2005 05/26/2005
2006 04/26/2006
2007 04/30/2007

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Case 1:O7-cV-21697-UU Document 1 Entered on FLSD Docket 07/03/2007 Page 44 of 45

UNITED STATES DISTRICT COURT
SOU'I'HERN DISTRIC'I` OF FLORIDA
MIAMI DIVISION

TEAM ENTERPRISES, INC., Case No. »
a Massachusetts Corporation, and

RE'I‘AILTRAC, L.L.C.,

A Delaware Corporation,

Plaintiff`,
vs.

KEN WAHLER, individually, and
SALESTRAC, INC., a Maryland

 

Corporation,
Defendants
/
D F KEN A PORT OF E 0 REMOV
Ken Wahler deposes and says:

l. l make this declaration under penalty of perjury in accordance with 28 U.S.C. §
1746, in support of Defendants’ Notice of Removal.

2. l am a citizen of the State of Maryland and reside in Baltimore County, Maryland.

3. l am the president of defendant SalesTrac, Inc. SalesTrac, Inc. is a corporation

formed under the laws of Maryland, and its principal office is located in Baltimore County,

Maryland.
Under penalties of perjury, l declare that I have read the foregoing declaration and that

M¢M .
KEN WAHLER.

EXHlBlT

_S;

the facts stated in it are true,

fabbi¢s'

Case 1:07-cV-21697-UU Document 1 Entered on FLSD Do

'E\JS44 (Rev. 11/05)

CIVIL COVER SHEET

The J S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the .ludrcral Conference of the Unrted States in Seotember 1974. is required for the use of the Clerk of Court for the purpose of initiating
the CiVil docket Sheet. (SEE INSTRUCTlONS ON THE REVERSE OF THE FORM.)

C{jt VOS-/.Z(X§ iagé4590f l475'

NOTICE: Attorneys MUST lndicate All Re-iiled Cases Below

l lall\

 

I. (a) PLAINTIFFS

Team Enlerprises, Inc. and RetailTrac, L.L.C.

(b) Cotmty of Residence of First Listed Plaintiff Massachusetts
(EXCEPT lN U.S. PLAINTIFF CASES)

DEFENDANTS

 

(C) AttOm€'y’S (Firm Name, Address, and 'I`elephone Number)

Richard A. Alayon, Esq.

Brooks & Alayon, LLP, 4551 Ponce de Leon Blvd.

Coral Gables, FL 33146

(305) 221-2110

NOTE:

Ken Wahler and SalesTrac, Inc.

County of Residence of First Listed Defendant

U\V-uNoi‘-\RG

MA

M

GISTRATE JUDGE
Q;§I%LLNAN

(lN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT
LAND INVOLVED.

 

Attomeys (If Known)

 

Andrew R. Herron. Esq., Herron Jacobs Ortiz, 1401 Brickell Ave.,
Suite 840, Miami, FL 33131 (305) 779-8106

 

(d) Ch€Ck County Wh€re ACtiOn ArOSe: J13 MlAMl- DADE 13 MONROE Cl BROWARD 13 PALM BEACH 13 MARTIN 13 ST.LUCIE 13 INDIAN RIVER 13 OKEECHOBEE

 

 

 

 

 

 

 

 

 

 

 

 

 

HIGHLANDS 1
II. BASIS OF JURISDICTION (Plac¢ an “X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIEHrl_dace B(" in;t):n'e Box for Plaintiff
(F or Diversity Cases Only) _ r° and QBOX fonDefendant)
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Plaintiff (U.S. Govemment Nota Party) Citizen ofThis State 13 1 D 1 lncorporated Ycipal§;e 4 4 CI 4
of Busines§}r ”".State f"_ i
~rr g ij , l
0 2 U.S. Govemment p 4 Diversity Citizen ofAnother State D 2 Q' 2 Incorpor'af'éiid;dl?rincipwace i 13 5 d 5
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Citizen or Subject of a 13 3 D 3 Foreign 1\§‘10¢. A: 13 6 13 6
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IV. NATURE OF SUlT !Place an “X" in One Box Onlx! -:.- ` ' »- '
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13 120 Marine CI 310 Airplane D 362 Personal lnjury - D 620 Other Food & Drug Cl 423 Withdrawal 13 410 Antitrust
13 130 Miller Act 13 315 Airplane Product Med. Malpractice Cl 625 Drug Related Seizure 28 USC 157 13 430 Banks and Banking
13 140 Negotiable Insn'ument Liability 13 365 Personal lnjury - of Property21 USC 881 13 450 Commerce
Cl 150 Recovery ovaerpayment 13 320 AssaulL Libel & Product Liability El 630 Liquor Laws l PROPERTY RlGH'I`S Cl 460 Deportation
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13 151 Medicare Act 13 330 Federal Employers` lnjury Product Cl 650 Airline Regs. 13 830 Patent Corrupt Organizations
D 152 Recovery of Defaulted Liability Liability 13 660 Occupational 13 840 Trademark 13 480 Consumer Credit
Student Loans 13 340 Ma.rine PERSONAL PROPERTY Saf`ety/Health Cl 490 Cable/Sat TV
(Excl. \1eterans) 13 345 Marine Producl Cl 370 Other Fraud 13 690 Other __ |3 810 Selective Service
13 153 Recovery of Overpayment Liability D 371 Trulh in Lending LABOR SOCIAL SECURITY 13 850 Securities/Commodities/
of Veteran's Benet`rts Cl 350 Motor Vehicle D 380 Other Personal 13 710 Fair Labor Standards 13 861 HIA (l395f`f) Exchange
D 160 Stockh<.)lders` Suits D 355 Motor Vehicle Property Damage Act El 862 Black Lung (923) 13 875 Customer Challenge
U 190 Other (fontract Product Liability CI 385 Property Damage |3 720 Labor/Mgmt. Relations U 863 DIWC/DIWW (405(g)) 12 USC 3410
Cl 195 Contrar:t Product Liability 13 360 Other Personal Product Liability 13 730 Labor/Mgmt.Reporting 13 864 SSID Title XVl 13 890 Other Statutory Actions
13 196 Fr'anchi.se lnjury ` & Disclosure Act 13 865 RSI (405(§)) 13 891 Agricultural Acts
I REAL PROPERTY CIVIL RIGHTS PRlSONER PE'I'ITIONS |3 740 Railway Labor Act FEDERAL TAX SUITS 13 892 Economic Stabilization Act
Cl 210 L:rnd Condemnation 13 441 Voting 13 510 Motions to Vacate 13 790 Other Labor Litigation 13 870 Taxes (U.S. PlaintiH` 13 893 Envirenmental Matters
Cl 220 Foreclosure 13 442 Employment Sentence U 791 Empl, Ret. Inc. or Defendant) D 894 Energy Allocation Act
13 230 Rent Lcase & Ejeetment g 443 Housing/ Habeas Corpus: Security Act 13 871 lR&JI`hird Party 13 895 Freedom of lnformation
13 240 Torts to Land Accommodations 13 530 General 26 USC 7609 Act
Cl 245 T()rt Prr)duct Liability [l 444 Welfare 13 535 Death Penalty 13 900Appeal of Fee Determinalion
D 290 All Other Real Property g 445 Amer. w/Disabiliu'es - 13 540 Mandamus & Other Under Equal Access
Employment Cl 550 Civil Rigirts to Justice
13 446 Amer. w/Disabilities - D 555 Prison Condition C] 950 Constitutionality of
Other State Statutes
Cl 440 Other Civil Rights
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VI. RELATED/RE-FILED

CASE(s).

(See instructions
second page):

 

a) Re-t'rled Case 13 YES 23 NO

JUDGE

b) Related Cases Cl YES l?'NO

DOCKET
NUMBER

 

VII. CAUSE OF
ACTION

diversity):

 

LENGTH OF ”IRIAL via 2 days estimated (f`or both sides to try entire case)

Cite the U.S. Civil Statute under which you are filing and Write a Briet` Statement of Cause (Do not cite jurisdictional statutes unless

28 U.S.C. sec. 1332. Breach of alleged oral contract / fraud in the inducement regarding software development

 

 

VIII. REQUESTED IN Cl cHECK iF rHrs rs A CLASS ACTroN DEMAND $ CHECK YES Only if demanded in Complaint
COMPLAINT: UNDER F~R~C~P~ 23 > 75,000~00 JURY I)EMANI): |T Yes D“ NO
ABovE rNr-'oRMATroN rs TRUE & coRREcr ro DATE

THE BEST tDF MY KNOWLEDGE

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FoR omcr: usa oNLY ‘ '
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